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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


  LUCAS CALIXTO, et al.

                 Plaintiffs,

                          v.
                                                    Civil Action No.18-1551 (ESH)
  UNITED STATES DEPARTMENT OF
  THE ARMY, et al.,

                 Defendants.



                               DEFENDANTS’ STATUS REPORT

       In accordance with the Court’s August 13, 2018, Order, Defendants respectfully submit

the following status report.

       1. The Court ordered Defendants to file bi-weekly status reports with any updates

regarding the Army’s policy with respect to administrative separation procedures applicable to

DEP and DTP members, as well as any intention to discharge any DEP or DTP member in

accordance with this policy.

       2. Defendants do not have any further updates from those provided to the Court in the

August 20, 2018 Status Report. ECF No. 24.

Dated: September 4, 2018                    Respectfully submitted,

                                            JESSIE K. LIU
                                            D.C. Bar # 472845
                                            United States Attorney

                                            DANIEL F. VAN HORN
                                            D.C. Bar # 924092
                                            Chief, Civil Division


                                     By:            /s/________________________
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